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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

KARAMELION LLC,
                                                    CASE NO. _______________
                      Plaintiff,
   v.                                               JURY TRIAL DEMANDED

PHILIPS NORTH AMERICA LLC,                          PATENT CASE

                      Defendant.

               ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff Karamelion LLC, files this Original Complaint for Patent Infringement against

Philips North America LLC and would respectfully show the Court as follows:

                                      I. THE PARTIES

        1.     Plaintiff Karamelion LLC (“Karamelion” or “Plaintiff”) is a Texas limited

liability company with its principal place of business at 5570 FM 423, Suite 250 #2022, Frisco,

TX 75034.

        2.     On information and belief, Defendant Philips North America LLC (“Defendant”)

is a limited liability company organized and existing under the laws of Delaware, with a place of

business at 222 Jacobs Street, Cambridge, MA 02141. Defendant has a registered agent at

Corporation Service Company, 251 Little Falls Drive, Wilmington, DE 19808.

                              II. JURISDICTION AND VENUE

        3.     This action arises under the patent laws of the United States, Title 35 of the

United States Code. This Court has subject matter jurisdiction of such action under 28 U.S.C. §§

1331 and 1338(a).

        4.     On information and belief, Defendant is subject to this Court’s specific and

general personal jurisdiction, pursuant to due process and the Delaware Long-Arm Statute, due




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at least to its business in this forum, including at least a portion of the infringements alleged

herein.        Furthermore, Defendant is subject to this Court’s specific and general personal

jurisdiction because Defendant is a Delaware limited liability company.

          5.       Without limitation, on information and belief, within this state, Defendant has

used the patented inventions thereby committing, and continuing to commit, acts of patent

infringement alleged herein. In addition, on information and belief, Defendant has derived

revenues from its infringing acts occurring within Delaware. Further, on information and belief,

Defendant is subject to the Court’s general jurisdiction, including from regularly doing or

soliciting business, engaging in other persistent courses of conduct, and deriving substantial

revenue from goods and services provided to persons or entities in Delaware. Further, on

information and belief, Defendant is subject to the Court’s personal jurisdiction at least due to its

sale of products and/or services within Delaware. Defendant has committed such purposeful acts

and/or transactions in Delaware such that it reasonably should know and expect that it could be

haled into this Court as a consequence of such activity.

          6.       Venue is proper in this district under 28 U.S.C. § 1400(b). On information and

belief, Defendant is a Delaware limited liability company. On information and belief, from and

within this District Defendant has committed at least a portion of the infringements at issue in

this case.

          7.        For these reasons, personal jurisdiction exists and venue is proper in this Court

under 28 U.S.C. § 1400(b).

                                III. COUNT I
          (PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 6,275,166)

          8.       Plaintiff incorporates the above paragraphs herein by reference.




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       9.       On August 14, 2001, United States Patent No. 6,275,166 (“the ‘166 Patent”) was

duly and legally issued by the United States Patent and Trademark Office. The application

leading to the ‘166 patent was filed on January 19, 1999. (Ex. A at cover). The ‘166 Patent is

titled “RF Remote Appliance Control/Monitoring System.” A true and correct copy of the ‘166

Patent is attached hereto as Exhibit A and incorporated herein by reference.

       10.      Plaintiff is the assignee of all right, title and interest in the ‘166 patent, including

all rights to enforce and prosecute actions for infringement and to collect damages for all

relevant times against infringers of the ‘166 Patent.          Accordingly, Plaintiff possesses the

exclusive right and standing to prosecute the present action for infringement of the ‘166 Patent

by Defendant.

       11.      The invention in the ‘166 Patent relates to control and monitoring of distributed

systems in buildings such as systems for controlling and monitoring heating, air conditioning,

lighting, security, occupancy, and usage of distributed facilities. (Ex. A at col. 1:5-12). Control

of such distributed systems in the prior art commonly used computer networks and business

software. (Id. at col. 1:11-13). A major difficult with such systems was the expense of wiring

inter-connections between elements of the system, particularly when there are additions or

changes to be made in the system. (Id. at col. 1:14-18). Prior art attempts to reduce the expense

of the systems included using efficient network products such as using a widely known Ethernet

standard, using AC power wiring to transmit RF communications to remove controllers, and

using a combination of wired and wireless communications. (Id. at col. 1:18-27).

       12.      However, these centralized wireless control systems for building appliances have

not been widely used mainly because systems that have a sufficient communication ranges are

normally subject to regulations and licensing requirements that are prohibitively expensive. (Id.




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at col. 1:28-32). Also, systems that are powerful enough to be used in widely distributed

installations are unnecessarily expensive to be used in smaller installations. (Id. at col. 1:32-34).

With respect to wireless communication, there is limited availability of RF carrier frequencies,

and potential interference with other nearby systems that might be operating in similar

frequencies.   (Id. at col. 1:34-37).    Because of the continued deficiencies of the prior art

solutions, there was a need for a wireless appliance control system that overcomes the

disadvantages of the prior art solutions. (Id. at col. 1:38-39).

       13.     The inventors developed an invention that “meets this need by providing a

wireless configuration that uses a distributed array of low power (short range) wireless

controllers that are also functional as relay units for communicating with a headend control

computer at long range.” (Id. at col. 1:42-46).

       14.     The ‘166 patent discloses exemplary embodiments of the claimed invention. The

claimed invention is typically implemented in a building or location that has an appliance

control/monitoring system. (Id. at col. 3:64 – col. 4:7). For example, the following figure is of a

building (11) having a distributed array of appliance management stations (12) that wirelessly

communicate with a headend control station (14) (Id. at col. 3:66 – col. 4:4):




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The typical appliances connected to the appliance control/monitoring system are heating,

ventilation and air conditioning units (HVAC), temperature sensors, motion detectors, and

audio/video devices. (Id. at col. 1:5-9, col. 4:54-61). The appliances are interfaced with relay

units that have appliance interface/controllers to communicate with the appliance and satellite

radio transceivers. (Id. at col. 4:62-66). The satellite radio transceivers of the relay units are

operable at low power and have a limited wireless communications range that reaches only a

portion of the building or location. (Id. at col. 4:62-66). In order to for the relay units to

communicate beyond their limited wireless range, they communicate by relaying transmissions

using intermediate relay units to the intended destination. (Id. at col. 4:66 – col. 5:1).    An

exemplary simplified circuit block diagram of the appliance controller portion of the relay unit,

including a satellite radio transceiver, is shown in Figure 3 of the ‘166 patent:




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(Ex. A). The microprocessor (34) is connected between a satellite transceiver (22) and the

appliance device (24). (Id. at col. 5:13-15).

       15.     The ‘188 patent includes a diagram of an exemplary command protocol (Fig. 4)

and exemplary return protocol (Fig. 5):




(Ex. A). The exemplary command protocol includes an address section (62) that includes a

destination address (63) and may include relay addresses (64) so that the message may be

relayed to another device. (Id. at col. 7:40-43). Following the address section is a command

section (66) that includes device commands (67) that are directed to particular appliance devices

at the destination relay unit. (Id. at col. 7:43-47). The exemplary return protocol includes a



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counterpart of the address section (72) that includes a destination address (73) and relay

addresses (74). (Id. at col. 7:48-51). Following the address section of the return protocol is a

feedback section (76) that include feedback elements (77) that are responsive to the appliance

devices at the destination relay unit. (Id. at col. 7:51-55).

       16.      A pictorial diagram showing an exemplary process for using a portion of the

system is shown in Figure 6 of the ‘166 patent:




(Ex. A). A transmitter in the headend computer (H) signals the addresses of relay units (20),

with one of the addresses being the destination address (D), and the other addresses include a

first and second relay address (R1, R2), and a control signal (C) for appliance (A) being

interfaced to the destination relay unit (D). (Id. at col. 7:56-65). The first relay unit decodes the

first relay address, and transmits the control signal, the second relay address and the destination

address from the first relay unit; the same steps occur at the second relay unit but with respect to

decoding the second relay address. (Id. at col. 7:65 – col. 8:1). The destination relay unit

decodes the destination address and feeds the control signal to the appliance; then the destination

unit transmits the destination address, the first and second relay addresses, and an

acknowledgement signal (Ak). (Id. at col. 8:2-6). The second relay unit decodes the second


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relay address, and then transmits the acknowledgement signal (Ak), the first relay address, and

the destination address; the same steps occur at the first relay unit but with respect to decoding

the first relay address. (Id. at col. 8:6-9). The headend computer decodes the destination address

and receives the acknowledgement signal (Ak).           (Id. at col. 8:9-11).   The decoding and

transmitting in the relay units are implemented by first and second instruction portions (82A,

82B), respectively, of the relay program (82). (Id. at col. 8:11-14). The feeding of the control

signal by the relay unit to the appliance and generating the acknowledgement signal occurs in the

appliance program (84). (Id. at col. 8:14-16). Both the relay program and appliance program are

in the microcomputer memory of each relay unit. (Id. at col. 8:16-18).

       17.     As explained during the prosecution history, the prior art did not teach a relay unit

being an appliance controller that communicated with a headend computer using at least two

other relay units.   The invention therefore overcame the prior art, which were excessively

expensive, had insufficient bandwidth, were ineffective in serving multiple devices, were

unreliable, and were difficult to use. (Ex. B at col. 1:43-51).

       18.     Direct Infringement. Upon information and belief, Defendant has been directly

infringed claim 16 of the ‘166 patent in Delaware, and elsewhere in the United States, by

performing actions comprising using an appliance controller for a distributed appliance system

having a headend computer to satisfy the method steps of claim 16, including without limitation

the Hue Bridge, Hue Dimmer Switch, Hue Bulbs, and other Zigbee supported devices (“Accused

Instrumentality”).       (e.g.,   https://www.philips-hue.com/en-us/p/hue-bridge/046677458478;

http://web.archive.org/web/20160111143830/http://www2.meethue.com/en-

us/productdetail/philips-hue-bridge;                     https://www.philips-hue.com/en-us/p/hue-

bridge/046677458478;                         https://www.philips-hue.com/en-us/support/apps-and-




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software#What_is_a_Zigbee_channel_change_in_the_Philips_Hue_app;

http://web.archive.org/web/20160112214557/http://www2.meethue.com/en-

us/productdetail/philips-hue-white-sk-a19;           https://developers.meethue.com/explore/why-

develop-for-hue/;    http://web.archive.org/web/20160112212819/http://www2.meethue.com/en-

us/productdetail/philips-hue-wireless-dimming-kit).

         19.   On information and belief, Defendant performed the step of providing a headend

computer having a main radio transceiver. For example, Defendant provides an appliance

controller (e.g., Hue Dimmer Switch, Hue Bulbs) for a distributed appliance system (e.g., LR-

WPAN network) having a headend computer (e.g., Hue Bridge), a multiplicity of appliances

(e.g., devices), and a plurality of relay units (e.g., remote control), one of the relay units being

the appliance controller (e.g., remote control/coordinator).




(https://standards.ieee.org/getieee802/download/802.15.4-2011.pdf).




(Id.).




(Id.).




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(Id.).




(Id.).




(Id.).




(Id.).

         20.   On information and belief, Defendant performs the step of providing a distributed

array of relay units, each relay unit having a satellite radio transceiver and a unique serial

number, at least some of the relay units being electrically interfaced to a corresponding portion


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of the appliances. For example, Defendant provides an appliance controller (e.g., Hue Dimmer

Switch and Hue Bulbs for a distributed appliance system (IR-WPAN network) having a headend

computer (e.g., PAN coordinator or Hue Bridge), a multiplicity of appliances (e.g., devices), and

a plurality of relay units (e.g., remote control), one of the relay units being the appliance

controller (e.g., remote control/coordinator). (Supra ¶19).




(https://standards.ieee.org/getieee802/download/802.15.4-2011.pdf).




(Id.).




(Id.).




(Id.).




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(http://web.archive.org/web/20160111143830/http://www2.meethue.com/en-

us/productdetail/philips-hue-bridge).




(https://www.philips-hue.com/en-us/p/hue-bridge/046677458478).




(https://www.philips-hue.com/en-us/p/hue-bridge/046677458478).


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(https://www.philips-hue.com/en-us/support/apps-and-

software#What_is_a_Zigbee_channel_change_in_the_Philips_Hue_app).




(http://web.archive.org/web/20160112214557/http://www2.meethue.com/en-

us/productdetail/philips-hue-white-sk-a19).




(https://developers.meethue.com/explore/why-develop-for-hue/).


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(http://web.archive.org/web/20160112212819/http://www2.meethue.com/en-

us/productdetail/philips-hue-wireless-dimming-kit).

       21.     On information and belief, in at least internal testing and usage, Defendant

performs the step of signaling, by a main transmitter from the headend computer (e.g., a

controller) the addresses of at least three relay units, one of the addresses being a destination

address, the other addresses including first and second relay addresses (e.g., the address for two

Zigbee devices serving as repeaters and a destination Zigbee device being controlled), and a

control signal for an appliance being interfaced to a destination relay unit (e.g., a Zigbee

controlled appliance) having a serial number tied to the destination address (e.g., the destination

device’s NodeID will be tied to a destination address used in routing).          (Supra ¶¶19-20).

(https://standards.ieee.org/getieee802/download/802.15.4-2011.pdf).




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         22.   On information and belief, in at least internal testing and usage, Defendant

performed the step of decoding the first relay address at a first relay unit having a corresponding

serial number. For example, the accused product will decode a first relay address (e.g. the

address for a first Zigbee device used as a repeater) having a corresponding serial number (e.g.

NodeID). (Supra ¶¶19-20).




(https://standards.ieee.org/getieee802/download/802.15.4-2011.pdf).




(Id.).




(Id.).




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(Id.).




(Id.).

         23.   On information and belief, in at least internal testing and usage, Defendant

performed the step of transmitting the control signal, the second relay address, and the

destination address from the first relay unit. For example, the accused product will transmit the

control signal (e.g. a signal to control a Zigbee device), the second relay address (e.g., the first

Zigbee device serving as a repeater will inform the next repeater of the next device the message

should be forwarded to) and the destination address (e.g., the first repeater will inform

subsequent repeaters in the chain of the final destination device) from the first relay unit. (Supra

¶22).

         24.   On information and belief, in at least internal testing and usage, Defendant

performed the step of feeding the control signal to the appliance from the destination relay unit.

For example, the accused product feeds the control signal to the appliance from the destination

relay unit (e.g., Zigbee hardware within a Zigbee device will feed the control signal to the

hardware within the device that actually performs its core function, such as a Zigbee controlled

light). (Supra ¶22).




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                             III. COUNT II
       (PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 6,873,245)

       25.      Plaintiff incorporates the above paragraphs herein by reference.

       26.      On March 29, 2005, United States Patent No. 6,873,245 (“the ‘245 Patent”) was

duly and legally issued by the United States Patent and Trademark Office. The application

leading to the ‘245 patent was filed on August 14, 2001, and is a continuation-in-part of the

application leading to the ‘166 Patent. (Ex. B at cover). The ‘245 Patent is titled “RF Remote

Appliance Control/Monitoring System.” A true and correct copy of the ‘245 Patent is attached

hereto as Exhibit B and incorporated herein by reference.

       27.      Plaintiff is the assignee of all right, title and interest in the ‘245 patent, including

all rights to enforce and prosecute actions for infringement and to collect damages for all

relevant times against infringers of the ‘245 Patent.          Accordingly, Plaintiff possesses the

exclusive right and standing to prosecute the present action for infringement of the ‘245 Patent

by Defendant.

       28.      Because the ‘245 patent is a continuation in part of the application leading to the

‘166 patent, the ‘245 patent has a substantially overlapping specification and the background

regarding the ‘166 patent is equally applicable and is incorporated by reference with respect to

the ‘245 patent. (Supra ¶¶11-17).

       29.      Direct Infringement. Upon information and belief, Defendant has been directly

infringing at least claim 1 of the ‘245 patent in Delaware, and elsewhere in the United States, by

performing actions comprising making, using, selling, and/or offering for sale an appliance

controller for a distributed appliance systems having a multiplicity of appliances, and a plurality

of relay units, that satisfies the limitations of at least claim 1, including without limitation the




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Hue Bridge, Hue Dimmer Switch, Hue Bulbs, and other Zigbee supported devices (“Accused

Instrumentality”).

       30.      Each Accused Instrumentality provides an appliance controller (e.g., Hue Dimmer

Switch, Hue Bulbs, and other Zigbee supported devices) for a distributed appliance system (e.g.,

Zigbee network) having a multiplicity of appliances (e.g., appliances such as lights, etc.), and a

plurality of relay units (e.g., repeaters), one of the relay units being the appliance controller (e.g.,

Hue          Dimmer        Switch         and          Hue       Bulbs).        (Supra        ¶¶19-21;

https://standards.ieee.org/getieee802/download/802.15.4-2011.pdf)

       31.      Each Accused Instrumentality has a low power satellite radio transceiver (e.g.,

radio frequency transceivers within the various Zigbee devices) having a range being less than a

distance to at least some of the appliances. (Supra ¶¶19-21).

       32.      Each Accused Instrumentality has an appliance interface for communicating with

the at least one local appliance (e.g., an interface which connects and makes possible the

transmission of signal to the actual electrical appliance like a Zigbee light). (Supra ¶¶19-21).

       33.      Each Accused Instrumentality has a microcomputer (e.g., microcontroller)

connected between the satellite radio transceiver (e.g., Zigbee transceiver) and the appliance

interface and having first program instructions for controlling the satellite transceiver (e.g., the

microcontroller controls the transmission of signals from the transceiver to the other Zigbee

nodes in the network) and second program instructions for directing communication between the

satellite transceiver and the appliance interface (e.g., the microcontroller within the Zigbee

device enables the command received from the appliance interface to be communicated to the

local appliance by the Zigbee transceiver so that the intended action can be executed such as




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switch on/off a light). (Supra ¶¶19-21; https://standards.ieee.org/getieee802/download/802.15.4-

2011.pdf).

       34.     Each Accused Instrumentality has a first program instructions including detecting

communications directed by another of the relay units (e.g., another Zigbee node acting as a

repeater) relative to the same appliance controller (e.g., targeted Zigbee node), signaling receipt

of the directed communications (sending acknowledgement signal through the Zigbee

transceiver), and directing communications to the other of the relay units relative to the same

appliance controller (e.g., sending status of an appliance or signal from a connected sensor). For

example, Hue Dimmer Switch and Hue Bulbs can receive communications to program connected

appliances sources or communicate regarding the status of the appliance. (Supra ¶¶19-21;

https://standards.ieee.org/getieee802/download/802.15.4-2011.pdf).

       35.     Each Accused Instrumentality has a second program instructions including

detecting relay communications directed between the another of the relay units and a different

relay unit, transmitting the relay communications, detecting a reply communication from the

different relay unit, and transmitting the reply communication to the other of the relay units,

wherein at least some of the relay units communicate with others of the relay units by relay

communications using at least two others of the relay units (e.g., a Zigbee node detects messages

from primary controller and checks whether message is intended for itself, if not, then acting as a

repeater, transmits it to next intended device in the route.      Also, the Zigbee node detects

messages from another Zigbee node and forwards it to primary controller. N number of nodes

may be involved in the process acting as repeaters or relay units). The Accused Instrumentality

works on Zigbee technology which uses mesh network and would communicate with the other




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relay units by relay communications using at least two others of the relay units (e.g., repeaters).

(Supra ¶¶19-21; https://standards.ieee.org/getieee802/download/802.15.4-2011.pdf).

         36.    Plaintiff has been damaged because of Defendant’s infringing conduct.

Defendant is thus liable to Plaintiff for damages in an amount that adequately compensates

Plaintiff for such Defendant’s infringement of the ‘166 Patent and the ‘245 Patent, i.e., in an

amount that by law cannot be less than would constitute a reasonable royalty for the use of the

patented technology, together with interest and costs as fixed by this Court under 35 U.S.C.

§ 284.

         37.    On information and belief, Defendant had at least constructive notice of the ‘166

Patent and the ‘245 Patent by operation of law, and there are no marking requirements that have

not been complied with.

                                       IV. JURY DEMAND

         Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.

                                   V. PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests that the Court find in its favor and against

Defendant, and that the Court grant Plaintiff the following relief:

         a.     Judgment that one or more claims of United States Patent No. 6,275,166 have
                been infringed, either literally and/or under the doctrine of equivalents, by
                Defendant;

         b.     Judgment that one or more claims of United States Patent No. 6,873,245 have
                been infringed, either literally and/or under the doctrine of equivalents, by
                Defendant;

         c.     Judgment that Defendant account for and pay to Plaintiff all damages to and costs
                incurred by Plaintiff because of Defendant’s infringing activities and other
                conduct complained of herein, and an accounting of all infringements and
                damages not presented at trial;



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       d.     That Plaintiff be granted pre-judgment and post-judgment interest on the damages
              caused by Defendant’s infringing activities and other conduct complained of
              herein;

       e.     That Plaintiff be granted such other and further relief as the Court may deem just
              and proper under the circumstances.


October 26, 2020
                                              CHONG LAW FIRM, P.A.

OF COUNSEL:                                   /s/ Jimmy Chong
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